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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

BERNIECE BURSH,
                                                      Case No. 5:18-cv-00608-DAE
Plaintiff,
                                                      Honorable Judge David A. Erza
        v.

SECURITY SERVICE FEDERAL
CREDIT UNION,

Defendant.

                                     NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE BERNIECE BURSH (“Plaintiff”), hereby notifies the Court

that the Plaintiffs and Defendant, have settled all claims between them in this matter and are in

the process of completing the final closing documents and filing the dismissal. The Parties

anticipate this process to take no more than 60 days and request that the Court retain jurisdiction

for any matters related to completing and/or enforcing the settlement. The Parties propose to file

a stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and

pray the Court to stay all proceedings until that time.

Respectfully submitted this 23rd day of July 2018.




                                                               s/ Nathan C. Volheim
                                                               Nathan C. Volheim, #6302103
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                                                               Lombard, IL 60148
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                                                               Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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